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 UNITED STATES BANKRUPTCY COURT
 NORTHERN DISTRICT OF NEW YORK
 ______________________________________
 In Re:

        Joseph A. DiMino, Jr.                                 Case No.: 23-30672-WAK

        Debtor.                                               Chapter 13

 ______________________________________

                         AFFIDAVIT OF NON-COMPLIANCE
                  AND EX-PARTE ORDER LIFTING AUTOMATIC STAY

        Tyler J. O’Neill, Esq., an attorney duly admitted to practice before this Court, affirms,

 under penalty of perjury, that:

    1. I am in-house for M&T Bank and I am familiar with the facts and circumstances of this

        case.

    2. On January 30, 2024, a Conditional Order was granted by Hon. Wendy A. Kinsella

        providing for, among other things, the timely payment of regular monthly payments on the

        Debtor’s 2015 Mercedes-Benz C-Class motor vehicle bearing vehicle identification

        number 55SWF4KB8FU031553 ( the “Collateral”), and further providing that in the event

        of a default, M&T Bank would give a ten-day notice of default and if the default was not

        cured, M&T Bank may submit to the Court an order vacating the automatic stay. A copy

        of said order is attached hereto as Exhibit “A.”

    3. Debtor has defaulted under the terms of the Conditional Order by failing to make regular

        post-petition payments due for November 2024 and for every month thereafter. As per the

        terms of the Conditional Order, a ten-day notice of default was submitted to the debtor and

        their attorney. A copy of said notice is attached hereto as Exhibit “B.”

    4. To date, the aforesaid default has not been cured.



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    WHEREFORE, M&T Bank respectfully requests that an Order be granted lifting and vacating

    the automatic stay as it relates to the Collateral identified above and any further relief as this

    Court may deem just and proper.



    Dated: April 9, 2025



                                                              M&T Bank

                                                              /s/ Tyler J. O’Neill
                                                              Tyler J. O’Neill
                                                              In-house counsel for M&T Bank
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